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                       UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                                    TAMPA DIVISION

BP PRODUCTS NORTH AMERICA INC.,

                            Plaintiff,

v.                                                Case No. 8:07-cv-1893-T-30MAP

GIANT OIL, INC.; GIANT
JACKSONVILLE, LLC; BASEM ALI,

                      Defendants.
_____________________________________/

                                         ORDER

       THIS CAUSE comes before the Court upon Defendants’ Motion to Stay (Dkt. #23),

and BP’s Response to Defendants’ Motion to Stay (Dkt. #24). The Court, having considered

the motion, response, and being otherwise advised in the premises, concludes that

Defendants’ motion should be granted.

       Plaintiff may file a motion with the Court to lift the stay upon the conclusion,

dismissal or settlement of the state court proceedings as they pertain to BP.

              It is therefore ORDERED AND ADJUDGED that:

       1.     Defendants’ Motion to Stay (Dkt. #23) is GRANTED.

       2.     This case is STAYED until further order by this Court.

       3.     Plaintiff is directed to file a status report with this Court on January 5, 2009,

              and every six months thereafter.

       4.     The Clerk is directed to ADMINISTRATIVELY CLOSE this case.
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          DONE and ORDERED in Tampa, Florida on July 1, 2008.




Copies furnished to:
Counsel/Parties of Record

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